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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION


UNITED STATES OF AMERICA                 §
                                         §
V.                                       §                       1:23-CR-135-RP-1
                                         §
SAINT JOVITE YOUNGBLOOD                  §


                 DEFENDANT’S AGREED MOTION FOR CONTINUANCE


COMES NOW The Defendant, Saint Jovite Youngblood, by and through his agent and
attorney of record, Jeff Senter of Austin and Dallas, Texas, who makes and ﬁles this
Defendant’s Agreed Motion for Continuance, and would show the court the following:
                                             I.
This case is set for Sentencing Thursday 7 November 2024 at 9:00 a.m., in the United States
District Court, Austin Division, Judge Robert Pitman, presiding.
                                             II.
Counsel for Mr. Youngblood, spoke with Assistant U.S. Attorney Dan Guess, in-person
Wednesday 23 October and again via telephone 25 October, to discuss said same
continuance on a medical basis, to which Assistant U.S. Attorney Guess does not object to
a 10 day continuance.


WHEREFORE PREMISES CONSIDERED, Defendant Saint Jovite Youngblood respectfully
requests that the Sentencing setting be continued to a minimum 10 day reset or to a date
deemed appropriate by this Honorable Court.
                                                   __________/JS/___________
                                                   Jeff Senter
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